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                           Exhibit B

                     Settlement Agreement
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                                 SETTLEMENT AGREEMENT

This Settlement Agreement (the “Agreement”), dated as of February 3, 2021 (the “Agreement
Date”), is made between and among Michael A. Cawley, Julie H. Edwards, Gordon T. Hall, Jon
A. Marshall, James A. MacLennan, Mary P. Ricciardello, Julie J. Robertson, and David Williams
(collectively, the “D&O Defendants”), Noble Corporation plc (“Noble”), and the Paragon
Litigation Trust (the “Trust”). These entities will be referred to collectively as the “Parties,” and
individually as a “Party.”

WHEREAS, on August 1, 2014, Noble completed the spin-off of certain of its standard
specification drilling rigs and related historical liabilities to Paragon Offshore plc (the “Spin-Off”);

WHEREAS, the Trust brought claims in the United States Bankruptcy Court for the District of
Delaware (the “Delaware Bankruptcy Court”) in an action styled Paragon Litigation Trust v.
Noble Corporation plc, et al., Adv. Proc. No. 17-51882 (the “Action”), asserting (i) claims against
Noble and certain of its affiliates for actual and constructive fraudulent transfer, debt
recharacterization, and unjust enrichment; and (ii) claims against the D&O Defendants for breach
of fiduciary duty and aiding and abetting breach of fiduciary duty, all of which are subject to
indemnification agreements with Noble;

WHEREAS, the D&O Defendants deny the allegations asserted against them in the Action;

WHEREAS, on July 31, 2020, Noble and certain of its affiliates (the “Debtors”) filed voluntary
petitions under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the Southern District of Texas (the “Texas Bankruptcy
Court”);

WHEREAS, this Agreement is the result of the Parties’ good faith efforts to mediate their disputes,
which were led by former bankruptcy judge Kevin Gross serving as mediator;

WHEREAS, the Trust and the Debtors have fully and finally settled the disputes among them in
the Action on the terms set forth in the settlement agreement between them dated September 23,
2020 (the “Corporate Defendants’ Settlement Agreement”);

WHEREAS, the Debtors received approval from the Texas Bankruptcy Court of their entry into
the Corporate Defendants’ Settlement Agreement on October 9, 2020;

WHEREAS, the Trust and the D&O Defendants desire to fully and finally settle the disputes
among them in the Action on the terms set forth in this Agreement;

WHEREAS, the Parties have reached a global settlement of all claims asserted by the Trust in the
Action and wish to reflect in this Agreement the terms of that global settlement, including the total
consideration paid to the Trust for the dismissal of all claims in the Action;

WHEREAS, the Trust will seek approval by the Delaware Bankruptcy Court of its entry into this
Agreement (the “Settlement Approval Motion”);
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WHEREAS, Noble will seek from the Texas Bankruptcy Court a modification of the automatic
stay to allow for the payment of insurance proceeds as contemplated hereunder (the “Motion for
Relief”);

NOW THEREFORE, in exchange for certain consideration, the receipt and sufficiency of which
is hereby acknowledged, the Parties agree as follows:

1. Definitions.

       1.1.     “Approval Order” shall mean the order issued by the Delaware Bankruptcy Court
                granting the Settlement Approval Motion in form and substance acceptable to the
                Trust, Noble and the D&O Defendants.

       1.2.     “Claims” shall mean any and all claims, cross-claims, causes of action,
                counterclaims, actions, demands, damages, losses, attorneys’ fees, costs, expenses,
                and liabilities, of whatever nature, whether known or unknown, accrued or
                unaccrued, direct or indirect, at law or in equity, now existing or that might arise
                hereafter, including, without limitation, any “claim” as defined in section 101 of
                the Bankruptcy Code.

       1.3.     “Delaware Dismissal Order” shall mean a final judgment in substantially the form
                attached as Exhibit A.

       1.4.     “Dollar” shall mean United States Dollar.

       1.5.     “Effective Date” shall mean the later of: (a) the date that the Delaware Bankruptcy
                Court enters the Approval Order (as defined above) and such order becomes a final
                non-appealable order; and (b) the date that the Texas Bankruptcy Court enters the
                Modification Order (as defined below) and such order becomes a final non-
                appealable order.

       1.6.     “Insurers” shall mean the insurers who issued the Insurance Policies.

       1.7.     “Insurance Policies” shall mean all of the D&O liability insurance policies issued
                by various Insurers to Noble, as the named insured, for the policy period August
                1, 2014 to August 1, 2024, which are listed on Exhibit B.

       1.8.     “Insurance Settlement Agreement Date” shall mean the date pursuant to which all
                of the Conditions Precedent have been satisfied in the separate settlement
                agreements between the Insurers, Noble, and the D&O Defendants.

       1.9.     “Modification Order” shall mean the order issued by the Texas Bankruptcy Court
                granting the Motion for Relief.

       1.10.    “Noble Bankruptcy Proceedings” shall refer to the jointly administered Chapter 11
                cases associated with the lead case styled In re: Noble Corporation PLC, et al.,
                Bankruptcy Case No. 20-33826 (DRJ), in the Texas Bankruptcy Court.



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       1.11.    “Payments” shall mean the payments made pursuant to Section 2 of this
                Agreement.

2. Bankruptcy Court Approval / Payments / Timing of Payments.

       2.1.     As soon as reasonably practicable, and no later than five (5) days after the
                Agreement Date, the Trust shall seek approval of its entry into this Agreement by
                filing the Settlement Approval Motion with the Delaware Bankruptcy Court.

       2.2.     As soon as reasonably practicable, and no later than five (5) days after the
                Agreement Date, Noble shall seek from the Texas Bankruptcy Court an order
                modifying the automatic stay concerning the Noble Bankruptcy, to the extent
                applicable, to allow for the payment of insurance proceeds from the Insurance
                Policies as set forth herein by filing the Motion for Relief with the Texas
                Bankruptcy Court.

       2.3.     As soon as reasonably practicable, and within seventeen (17) business days of the
                later of the Insurance Settlement Agreement Date or the Effective Date, Noble and
                the D&O Defendants shall cause the Insurers to pay to the Paragon Litigation Trust
                $82,675,000.

       2.4.     As soon as reasonably practicable after the Insurers pay the $82,675,000 to the
                Trust, and in any event within 48 hours of such payment, Noble shall pay to the
                Trust $7,700,000. Neither Noble nor the D&O Defendants are personally liable to
                fund the $82,675,000 that is being paid by the Insurers. Upon the payment of such
                amounts by the Insurers and Noble, Noble shall be deemed to have satisfied all of
                its financial obligations to the Trust under the Corporate Defendants’ Settlement
                Agreement, including any obligation to pursue claims against the Insurers.

       2.5.     Within five (5) business days of the Trust receiving all of the payments required
                to be made in this Section 2, it shall file the Delaware Dismissal Order and take
                reasonable steps to obtain entry of such order as soon as reasonably practicable
                thereafter.

3. Taxes. All taxes imposed as a result of this Agreement or the performance hereunder shall be
   paid by the Party required to do so under applicable law.

4. Mutual Releases.

       4.1.     The Trust, on behalf of itself and its current and former beneficiaries,
                representatives, litigation trust management, advisors, attorneys, agents, partners,
                employees, trustees, representatives, predecessors, successors, and assigns,
                forever unconditionally and irrevocably releases, discharges, and holds harmless
                the D&O Defendants and their respective representatives, advisors, attorneys,
                agents, predecessors, successors, and assigns – past, present, and future – from any
                and all Claims arising out of or based on any act or omission occurring from the
                beginning of time up to and including the Effective Date, provided, that, any
                release herein granted on behalf of any person other than the Trust shall be limited


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         to those Claims that are in whole or in part, directly or indirectly, causally-
         connected to, arising out of, in connection with or related to the Action, including
         any of the allegations asserted or that could have been asserted therein or with
         respect to the Spin-Off. For the avoidance of doubt, nothing herein shall limit the
         scope of the release provided or findings made in the Approval Order.

4.2.     The D&O Defendants forever unconditionally and irrevocably release, discharge,
         and hold harmless the Trust, its current and former beneficiaries, representatives,
         litigation trust management, advisors, attorneys, agents, partners, employees,
         trustees, representatives, predecessors, successors, and assigns – past, present, and
         future – from any and all Claims arising out of or based on any act or omission
         occurring from the beginning of time up to and including the Effective Date.

4.3.     The Trust, on behalf of itself and its current and former beneficiaries,
         representatives, litigation trust management, advisors, attorneys, agents, partners,
         employees, trustees, representatives, predecessors, successors, and assigns,
         forever unconditionally and irrevocably releases, discharges, and holds harmless,
         the Insurers and their representatives, attorneys, agents, partners, employees,
         predecessors, successors, and assigns from any and all Claims arising out of or
         based on any act or omission related to any obligations the Insurers might have
         under the Insurance Policies regarding the Action.

4.4.     The Trust, the D&O Defendants, and Noble acknowledge and agree that they
         intend to release and discharge the Claims set forth above, irrespective of whether
         such Claims are known or unknown to any or all Parties, and irrespective of
         whether such Claims, if actually unknown to a Party, could or could not have been
         discovered by that Party through the exercise of reasonable diligence. The Trust,
         the D&O Defendants, and Noble knowingly, voluntarily, intentionally, and
         expressly waive any and all rights and benefits under any and all laws (including
         but not limited to statutes, ordinances, administrative regulations, and principles
         of common law) of any federal, state, province, territory, county, city,
         municipality, or any other political subdivision of the United States or any foreign
         country, that would restrict in any fashion the full scope of enforceability of the
         releases set forth in this Section 4.

4.5.     All rights under Section 1542 of the California Civil Code, or any analogous state
         or federal law, are hereby expressly WAIVED by the Parties, if applicable, with
         respect to any of the claims, injuries, or damages described in the releases set forth
         in Section 4. Section 1542 of the California Civil Code reads as follows:

         “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
         CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
         EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
         RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
         MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
         DEBTOR OR RELEASED PARTY.”



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5. Condition Precedent. The occurrence of the Effective Date shall be a condition precedent to
   the effectiveness of this Agreement.

6. No Admission of Liability. Each Party acknowledges and agrees that this Agreement is a
   compromise settlement that is not in any respect, for any purpose, to be deemed or construed
   to be an express or implied admission of any liability or wrongdoing in the Action or otherwise.
   Neither this Agreement nor the Parties’ compromise negotiations are admissible as evidence
   in any future proceedings brought by any third parties against any of the Parties.

7. Representations and Warranties. The Parties represent and warrant that they have the full
   right and power to grant the releases set forth in this Agreement and have not sold, assigned,
   transferred, hypothecated, pledged, or encumbered, or otherwise disposed of, in whole or in
   part, voluntarily or involuntarily, any Claim released pursuant to this Agreement.

8. Further Assurances. The Parties agree to cooperate as reasonably necessary and to take all
   reasonable steps to effectuate this Agreement and the dismissal of the Action in accordance
   with this Agreement.

9. Successors and Assigns. This Agreement shall be binding upon and inure to the benefit of the
   Parties, their successors-in-interest, heirs and permitted assigns. For the avoidance of doubt,
   upon the effective date of the Plan, all of Noble’s rights and obligations under this Agreement
   shall be assumed by Reorganized Parent (as defined in the Plan).

10. Integrated Agreement. This Agreement constitutes the entire understanding and contract
    between the Parties with respect to the subject matter referred to herein. Any and all other
    representations, understandings, covenants, or agreements, whether oral, written, or implied,
    are merged into and superseded by the terms of this Agreement.

11. No Oral Modifications. No provision of this Agreement can be waived, modified, amended,
    or supplemented except in a writing that expressly references this Agreement and is signed by
    an authorized representative of each Party to be bound.

12. Notice. All notices that are required or that may be permitted to be given pursuant to the terms
    of this Agreement shall be in writing and shall be sufficient in all respects if given in writing
    and delivered by courier, by facsimile, by email, by registered mail, and/or by certified mail,
    return receipt requested, as follows:

   If to the Paragon Litigation Trust:

   Tim Daileader
   Chief Operating Officer
   Drivetrain, LLC
   410 Park Avenue
   Suite 900
   New York, NY 10022
   E-mail: tdaileader@drivetrainllc.com

   With copy to:


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Kirkland & Ellis LLP
300 North LaSalle
Chicago, IL 60654
Attention: Jeffrey J. Zeiger
Facsimile: (312) 862-2200
E-mail: jzeiger@kirkland.com


If to Noble:

Noble Corporation plc
13135 Dairy Ashford, Suite 800
Sugar Land, TX 77478
Attention: William Turcotte, General Counsel

With copies to:

Skadden, Arps, Slate, Meagher & Flom LLP
155 N. Wacker Drive
Chicago, IL 60606
Attention: George Panagakis
Facsimile: (312) 407-8586
E-mail: george.panagakis@skadden.com

and

Skadden, Arps, Slate, Meagher & Flom LLP
One Manhattan West
New York, NY 10001
Attention: George Zimmerman
Facsimile: (917) 777-2047
E-mail: george.zimmerman@skadden.com


If to the D&O Defendants:

Skadden, Arps, Slate, Meagher & Flom LLP
One Manhattan West
New York, NY 10001
Attention: George Zimmerman
Facsimile: (917) 777-2047
E-mail: george.zimmerman@skadden.com




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   Any such notices shall be effective upon receipt by the listed addressees. The Parties may
   change their addresses for notice purposes by sending a notice of such changes to the other
   Parties in accordance with the terms of this Section.

13. Independent Advice. Each Party warrants and represents that it has received independent legal
    advice from such Party’s attorney with respect to the rights and obligations arising from, and
    the advisability of executing, this Agreement.

14. Construction of Ambiguities. Because all Parties have participated in drafting, reviewing,
    and editing the language of this Agreement, no presumption for or against any Party arising
    out of drafting all or any part of this contract shall be applied in any action whatsoever.

15. Headings. The subject headings used in this Agreement are included for purposes of
    convenience only and shall not affect the construction or interpretation of any provisions of
    this document.

16. Execution. This Agreement may be executed and delivered in any number of counterparts.
    When each Party has signed and delivered at least one counterpart to all other Parties, each
    counterpart shall be deemed an original and all counterparts, taken together, shall constitute
    one and the same agreement, which shall be binding and effective on the Parties hereto in
    accordance with the terms of this Agreement as of the date the counterparts are delivered;
    electronic delivery is acceptable to all Parties. This Agreement may be executed using
    electronic signatures and exchanged via electronic means, with the same force and effect as
    original signatures for all purposes.

17. Enforceability. When effective under the conditions and other terms of this Agreement, this
    Agreement shall be valid and binding upon the Parties, and shall be fully enforceable against
    each of them, in accordance with its terms. Any person executing this Agreement on behalf of
    any Party hereto does hereby personally represent and warrant to the other Party or Parties that
    he/she has the authority to execute this Agreement on behalf of, and fully bind, such Party.

18. Governing Law. This Agreement shall be governed by, and interpreted, construed, and
    enforced in accordance with, the laws of the State of New York.

19. Third-Party Beneficiaries. Noble Corporation Holdings Ltd, Noble Corporation, Noble FDR
    Holdings Limited, Noble Holding International Limited, Noble Holding (U.S.) LLC, Noble
    International Finance Company, Noble Holding International (Luxembourg) S.à r.l., Noble
    Holding International (Luxembourg NHIL) S.à r.l., the Insurers and the Trust beneficiaries are
    third-party beneficiaries of this Agreement. Other than the persons and entities referred to in
    the immediately preceding sentence, there are no third-party beneficiaries of this Agreement.

20. Retention of Jurisdiction and Choice of Venue. Any dispute arising from or related to this
    Agreement shall be decided solely and exclusively by the Texas Bankruptcy Court, which shall
    retain exclusive jurisdiction to hear and determine such dispute. To the extent the Texas
    Bankruptcy Court determines that it is unable or unwilling to exercise jurisdiction over any
    such dispute, such dispute shall be decided by the United States District Court for the Southern
    District of Texas, or if such court determines that it is unable or unwilling to exercise
    jurisdiction over any such dispute, such dispute shall be brought to a state court located in the


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   Borough of Manhattan, New York and the Parties shall endeavor to have this matter heard by
   and/or transferred to the Supreme Court, Commercial Division. The Parties consent to the entry
   of a final judgment by the Texas Bankruptcy Court in any dispute with respect to the
   interpretation or enforcement of this Agreement and waive any objections thereto under Article
   III of the United States Constitution and section 157 of title 28 of the United State Code. The
   Parties waive their right to a jury trial in connection with any dispute related to or arising out
   of this Agreement.

21. Severability. If any provision of this Agreement is unenforceable, such provision will be
    changed and interpreted to accomplish the objectives of such provision to the greatest extent
    possible under applicable law and the remaining provisions will continue in full force and
    effect. To the extent that any provision of this Agreement is held unenforceable and is not so
    reformed, the Parties agree to negotiate in good faith an enforceable substitute provision for
    any invalid or unenforceable provision that most nearly achieves the intent of such provision.

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                                                 8
              C a s e               1 7 - 5 1 8 8 2 - C S S                              D o c    3 8 9




Each of the Parties hereby agrees to this Agreement on the date set forth below:
Paragon Litigation Trust                                    James A. MacLennan

___________________________________                         ___________________________________
By:    _____________________________
       Tim Daileader                                        Date: _____________________________
Title: _____________________________
       Authorized Signatory for
       Drivetrain, LLC as Litigation Trust Management

Date: _____________________________
       February 2, 2021


                                                            Mary P. Ricciardello

Noble Corporation plc                                       ___________________________________
                                                            Date: _____________________________
___________________________________
By:    _____________________________
Title: _____________________________
Date: _____________________________                         Julie J. Robertson

                                                            ___________________________________
                                                            Date: _____________________________
Michael A. Cawley

___________________________________
Date: _____________________________                         David W. Williams

                                                            ___________________________________
                                                            Date: _____________________________
Julie H. Edward

___________________________________
Date: _____________________________



Gordon T. Hall

___________________________________
Date: _____________________________



Jon A. Marshall

___________________________________
Date: _____________________________




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             (n/k/a Noble Holding Corporation plc)
Richard Barker



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Each of the Parties hereby agrees to this Agreement on the date set forth below:

Paragon Litigation Trust                             James A. MacLennan


By:                                                  Date:
Title:
Date:

                                                     Mary P. Ricciardello

Noble Corporation plc
                                                     Date:

By:
Title:
Date:                                                Julie J. Robertson


                                                     Date:
Michael A. Cawley


Date:                                                David W. Williams


                                                     Date:
Julie H. Edwards

~~~
  'ate: February 3, 2021



Gordon T. Hall


Date:



Jon A. Marshall


Date:
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Each of the Parties hereby agrees to this Agreement on the date set forth below:

Paragon Litigation Trust                            James A. MacLennan


                                                    Date:




                                                    Mary P. Ricciardello

Noble Corporation plc
                                                             February 3, 2021




                                                    Julie J. Robertson


                                                    Date:
Michael A. Cawley


Date:                                                David W. Williams


                                                     Date:
Julie H. Edwards


Date:




Gordon T. Hall


Date:




Jon A. Marshall


Date:
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                        Exhibit A
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re                                                         Chapter 11

 PARAGON OFFSHORE PLC,                                         Bankr. Case No. 16-10386 (CSS)

                        Debtor.



 PARAGON LITIGATION TRUST,

                        Plaintiff,

         v.

 NOBLE       CORPORATION    PLC,   NOBLE                       Adv. Proc. No. 17-51882 (CSS)
 CORPORATION HOLDINGS LTD, NOBLE
 CORPORATION,         NOBLE      HOLDING
 INTERNATIONAL (LUXEMBOURG) S.à r.l.,
 NOBLE        HOLDING      INTERNATIONAL
 (LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
 HOLDINGS      LIMITED,  NOBLE   HOLDING
 INTERNATIONAL LIMITED, NOBLE HOLDING
 (U.S.) LLC, NOBLE INTERNATIONAL FINANCE
 COMPANY, MICHAEL A. CAWLEY, JULIE H.
 EDWARDS, GORDON T. HALL, JON A.
 MARSHALL, JAMES A. MACLENNAN, MARY P.
 RICCIARDELLO, JULIE J. ROBERTSON, and
 DAVID WILLIAMS,

                        Defendants.


                                       FINAL JUDGMENT

                Upon consideration of the parties’ settlement of the claims of the Paragon Litigation

Trust (the “Trust”) in this lawsuit, it is ORDERED that Counts I – VIII of the First Amended

Complaint are dismissed with prejudice. The Trust and the Defendants shall bear their own

attorneys’ fees and costs.
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                                  Exhibit B


                             Insurance Policies

                        Insurer(s)                             Policy Number
                                                               13DO000474RA
Chubb Underwriting Agencies Limited for and on behalf of
                                                                  (RKH No.
Syndicate 2488 as successor of Syndicate 1882
                                                                   D130046)
                                                                   D130047
Certain Underwriters at Lloyds, London                            (RKH No.
                                                                   D130047)
                                                                   D130047
Zurich Insurance Plc / Zurich Insurance Company Ltd.              (RKH No.
                                                                   D130047)
                                                                 097597/01/13
Great Lakes Insurance SE                                          (RKH No.
                                                                   D130049)
                                                                13G112030104
HCC International Insurance Company Plc                           (RKH No.
                                                                   D130050)
Allianz Risk Transfer AG, Schaan, Zurich Branch (formerly      CHF000286134
Allianz Risk Transfer AG before the redomiciliation in 2016       (RKH No.
of Allianz Risk Transfer AG to Liechtenstein)                      D130051)
                                                                   D130052
Certain Underwriters at Lloyds, London (Navigators)               (RKH No.
                                                                   D130052)
                                                               B0180D130053
American International Group UK Limited                           (RKH No.
                                                                   D130053)
                                                               AC6894A13FAA
Certain Underwriters at Lloyds, London (Starr)                   (RKH No.
                                                                 D130383)

                                                                   D130384
Certain Underwriters at Lloyds, London
                                                                  (RKH No.
(Barbican/Navigators)
                                                                  D130384)
